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                                                                                         February 01, 2025 through February 28, 2025
        JPMorgan Chase Bank, N.A.
                                                                                         Account Number:                       8307
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                           Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00074028 WBS 802 211 06025 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND SELECT TOYS & COLLECTIBLES, LLC
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                    Market Value/Amount                      Shares


Opening Ledger Balance                                                                                 $1,427.81


Deposits and Credits                                                     19                         $282,771.87


Withdrawals and Debits                                                   23                         $246,302.00


Checks Paid                                                              12                          $34,404.67


Ending Ledger Balance                                                                                  $3,493.01


Deposits and Credits

Ledger              Description                                                                                                       Amount

Date


02/03              Remote Online Deposit            8307                                                                               $86.42

02/03              JPMorgan Access Transfer From Account                          5979                                               50,000.00
                   YOUR REF: 1005102034SB

02/04              Orig CO Name:Ebay Comyiylq48U              Orig ID:1618206000 Desc                                                     8.48
                   Date:250204 CO Entry Descr:Payments          Sec:CCD
                   Trace#:021000020919475 Eed:250204            Ind ID:Ggo7Nhqnc9Rw960
                   Ind Name:Diamond Select Toys CO            Nte*Zzz*P6744024121\ Trn:
                   0350919475Tc

02/05              JPMorgan Access Transfer From Account                          5979                                               50,000.00
                   YOUR REF: 1003035036SB

02/07              Remote Online Deposit            8307                                                                               420.92

02/10              Orig CO Name:Ebay Comwzbplnhx               Orig ID:1618206000 Desc                                                   55.87
                   Date:250210 CO Entry Descr:Payments          Sec:CCD
                   Trace#:021000024020251 Eed:250210            Ind ID:X3Dif2Jqqgjf662              Ind
                   Name:Diamond Select Toys CO           Nte*Zzz*P6752398297\ Trn:
                   0414020251Tc

02/14              JPMorgan Access Transfer From Account                          5979                                              100,000.00
                   YOUR REF: 1005395045SB




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                         February 01, 2025 through February 28, 2025
                                                                          Account Number:                     8307




Deposits and Credits      (continued)


Ledger     Description                                                                                              Amount

Date


02/18      Orig CO Name:Ebay Combiggk2MT          Orig ID:1618206000 Desc                                             43.86
           Date:250218 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000021319407 Eed:250218      Ind ID:Zfkr8H7Tcgt9M6G
           Ind Name:Diamond Select Toys CO       Nte*Zzz*P6763462753\ Trn:
           0491319407Tc

02/18      Orig CO Name:Ebay Comjrxggxss        Orig ID:1618206000 Desc                                               12.46
           Date:250217 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000021319410 Eed:250218      Ind ID:Uq9Nfbztgmrw065
           Ind Name:Diamond Select Toys CO       Nte*Zzz*P6762145849\ Trn:
           0491319410Tc

02/19      Remote Online Deposit        8307                                                                         532.06

02/19      JPMorgan Access Transfer From Account                5979                                           55,000.00
           YOUR REF: 1004746050SB

02/21      JPMorgan Access Transfer From Account                5979                                           10,000.00
           YOUR REF: 1004133052SB

02/24      Reversal of Check        102888                                                                          4,000.00

02/24      Remote Online Deposit        8307                                                                        2,259.69

02/25      Orig CO Name:Ebay Comssmyvy49          Orig ID:1618206000 Desc                                             12.91
           Date:250225 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000022360555 Eed:250225      Ind ID:Ub82Bfqggrob46E
           Ind Name:Diamond Select Toys CO       Nte*Zzz*P6773147305\ Trn:
           0562360555Tc

02/26      Orig CO Name:Ebay Como21Y0Qfp          Orig ID:1618206000 Desc                                             43.24
           Date:250226 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000027924557 Eed:250226      Ind ID:Ttmun6Prcw4th63             Ind
           Name:Diamond Select Toys CO       Nte*Zzz*P6774790201\ Trn:
           0577924557Tc

02/27      JPMorgan Access Transfer From Account                5979                                           10,000.00
           YOUR REF: 1006177058SB

02/28      Remote Online Deposit        8307                                                                         284.65

02/28      Orig CO Name:Ebay Com5Suuhvkw          Orig ID:1618206000 Desc                                             11.31
           Date:250228 CO Entry Descr:Payments     Sec:CCD
           Trace#:021000026991114 Eed:250228      Ind ID:Wtefzaarnmmmd6N
           Ind Name:Diamond Select Toys CO       Nte*Zzz*P6777604657\ Trn:
           0596991114Tc

Total                                                                                                      $282,771.87



Withdrawals and Debits

Ledger     Description                                                                                              Amount

Date

02/03      Fedwire Debit Via: Key Gr Lakes Cleve/041001039 A/C: Rcm&D, Inc US Ref:                             $4,351.09
           Inv 116717 Imad: 0203Mmqfmp2N046501 Trn: 9916800034Jo
           YOUR REF: NONREF

02/03      Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                   1,796.86
           90638-5802 US Ref: Inv 46274 Trn: 9917000034Jo
           YOUR REF: NONREF

02/03      Fedwire Debit Via: Bk Amer Nyc/026009593 A/C: The Bank of Nova Scotia                                    1,270.00
           Toronto Canada CA Ben: Barry Bradfield Ottawa, On, K1V 7J1 CA Ref: Inv
           Aa300 Imad: 0203Mmqfmp2N046506 Trn: 9916900034Jo
           YOUR REF: NONREF

02/03      Orig CO Name:Diamond Select T        Orig ID:9108307001 Desc Date:Prfund                            17,450.00
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000024632499 Eed:250203
           Ind ID:9108307001             Ind Name:EFT File Name: Rp0345H        ACH
           Origin#:9090209001 CO Eff: 25/ 02/03                           250203
           Rp0345H6 Trn: 0344632499Tc




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Withdrawals and Debits      (continued)

Ledger     Description                                                                                             Amount

Date

02/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         35,416.23
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 7867500036Jo
           YOUR REF: NONREF

02/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                          14,600.19
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 7768600037Jo
           YOUR REF: NONREF

02/07      Orig CO Name:Diamond Select T        Orig ID:9108307001 Desc Date:Prfund                                1,271.10
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000029596585 Eed:250207
           Ind ID:9108307001              Ind Name:EFT File Name: Rp03841      ACH
           Origin#:9090209001 CO Eff: 25/ 02/07                           250207
           Rp038414 Trn: 0389596585Tc

02/10      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                               259.95
           - ADP55S6Q/Bnf/Rbi - ADP55S6Q Trn: 7558700041Jo
           YOUR REF: NONREF

02/11      Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                  6,169.37
           90638-5802 US Ref: Inv 46288 Trn: 7424100042Jo
           YOUR REF: NONREF

02/14      Chips Debit Via: Standard Chartered Bank/0256 A/C: Caixa Economica                                      1,500.00
           Federal Sao Paulo Brazil 01310-300 Br Ben: Jorge Dos Santos Souza Br Ref:
           Inv Dstoys65 Ssn: 00640006 Trn: 0144700045Vb
           YOUR REF: NONREF

02/14      Chips Debit Via: Bank of America, N.A./0959 A/C: The Bank of Nova Scotia                                4,410.00
           Toronto Canada CA Ben: Barry Bradfield Ottawa, On, K1V 7J1 CA Ref: Inv
           Aa301 Ssn: 00640122 Trn: 0144800045Vb
           YOUR REF: NONREF

02/14      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                    8,640.00
           Banking Corpohong Kong Hong Kong Hk Ben: Pd Workshop Limited Hk Ref:
           Inv 20250203 Ssn: 00640147 Trn: 0144600045Vb
           YOUR REF: NONREF

02/14      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                               66,345.92
           Banking Corpohong Kong Hong Kong Hk Ben: Venture Manufacturing Ltd Hk
           Ref: Inv V026.25 Ssn: 00640564 Trn: 0168100045Vb
           YOUR REF: NONREF

02/14      Orig CO Name:Diamond Select T        Orig ID:9108307001 Desc Date:Prfund                                7,585.75
           CO Entry Descr:Corp Pay Sec:CCD      Trace#:021000026914482 Eed:250214
           Ind ID:9108307001              Ind Name:EFT File Name: Rp0454U      ACH
           Origin#:9090209001 CO Eff: 25/ 02/14                           250214
           Rp0454Uf Trn: 0456914482Tc

02/18      Fedwire Debit Via: Key Gr Lakes Cleve/041001039 A/C: Rcm&D, Inc US Ref:                                 1,125.00
           Inv 133455 Imad: 0218Mmqfmp2N097453 Trn: 0522900049Vb
           YOUR REF: NONREF

02/18      Account Analysis Settlement Charge                                                                       531.60

02/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         35,006.86
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 8340100050Jo
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                          14,073.65
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 0014100051Vb
           YOUR REF: NONREF

02/20      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                               286.00
           - ADP55S6Q/Bnf/Rbi - ADP55S6Q Trn: 0014200051Vb
           YOUR REF: NONREF

02/21      Book Transfer Debit A/C: JPMorgan Chase Bank NA Elgin IL 60124-7836 US                             15,000.00
           Ref: Acct#              8904/Bnf/Acct#                8904 Trn:
           7509600052Jo
           YOUR REF: NONREF




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Withdrawals and Debits                (continued)

Ledger              Description                                                                                                  Amount

Date

02/26              Orig CO Name:Jp Morgan Chase            Orig ID:XX-XXXXXXX Desc Date:022525                                    978.72
                   CO Entry Descr:Comm Card Sec:CCD           Trace#:021000021273104
                   Eed:250226     Ind ID:556375790004890               Ind Name:Diamond Select
                   Autopay Trn: 0571273104Tc

02/27              Orig CO Name:Diamond Select T          Orig ID:9108307001 Desc Date:Prfund                                    5,120.69
                   CO Entry Descr:Corp Pay Sec:CCD           Trace#:021000023075775 Eed:250227
                   Ind ID:9108307001                Ind Name:EFT File Name: Rp0586T          ACH
                   Origin#:9090209001 CO Eff: 25/ 02/27                                250227
                   Rp0586T3 Trn: 0583075775Tc

02/27              Orig CO Name:Diamond Select T          Orig ID:9108307001 Desc Date:Prfund                                    3,113.02
                   CO Entry Descr:Corp Pay Sec:CCD           Trace#:021000023075772 Eed:250227
                   Ind ID:9108307001                Ind Name:EFT File Name: Rp0586T          ACH
                   Origin#:9090209001 CO Eff: 25/ 02/27                                250227
                   Rp0586T4 Trn: 0583075772Tc

Total                                                                                                                    $246,302.00




Checks Paid

         Check     Date Paid         Amount          Check     Date Paid         Amount         Check     Date Paid              Amount

        102879     02/14          $20,775.00        102885     02/26            $600.09        102890      02/24                 $246.50
        102882*    02/21           $1,071.78        102887*    02/20            $157.40        102891      02/24            $1,000.00
        102883     02/21               $3.90        102888     02/21           $4,000.00       102892      02/18                 $800.00
        102884     02/11           $3,750.00        102889     02/18           $1,200.00       102893      02/25                 $800.00


Total          12 check(s)                                                                                               $34,404.67
* indicates gap in sequence


Daily Balance


                                                       Ledger                                                                     Ledger

Date                                                  Balance          Date                                                      Balance

02/03                                               $26,646.28         02/19                                              $23,332.96
02/04                                               $26,654.76         02/20                                                $8,815.91
02/05                                               $41,238.53         02/21                                               -$1,259.77
02/06                                               $26,638.34         02/24                                                $3,753.42
02/07                                               $25,788.16         02/25                                                $2,966.33
02/10                                               $25,584.08         02/26                                                $1,430.76
02/11                                               $15,664.71         02/27                                                $3,197.05
02/14                                                $6,408.04         02/28                                                $3,493.01
02/18                                                $2,807.76




                  Your service charges, fees and earnings credit have been calculated through account analysis.




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